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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO


 Mark Changizi, Michael P. Senger, Daniel
 Kotzin,


                    Plaintiffs,

         v.
                                                         Civil Docket No. 2:22-cv-01776
 Department of Health and Human Services,
 Vivek Murthy, in his official capacity as
 United States Surgeon General, Xavier
 Becerra, in his official capacity as Secretary
 of the Department of Health and Human
 Services,


                    Defendants.


                         RESPONSE TO PLAINTIFFS’ RULE 60(b) MOTION

       Plaintiffs ask this Court to vacate its final judgment based on “new evidence” that is

analogous to the evidence Plaintiffs previously relied on and thus does nothing to cure the many

defects the Court found in their Complaint. The Court should reject Plaintiffs’ request.

       Plaintiffs brought suit claiming that the disciplinary actions that Twitter took against them

were attributable to the federal government based on certain general statements by the U.S.

Surgeon General about the harms of, and strategies for addressing, misinformation. The Court

dismissed Plaintiffs’ suit after concluding that they did not establish standing, principally because

there was no indication that the precise disciplinary actions Twitter took (or will take) against them

were (or will be) caused by the Surgeon General’s statements rather than Twitter’s longstanding

misinformation policies that predate the current Administration. The Court also concluded that, in

any event, all of Plaintiffs’ claims lacked merit.




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       Plaintiffs now move the Court to vacate its final judgment pursuant to Rule 60(b)(2) based

on “new evidence” indicating that officials at the Department of Homeland Security (“DHS”) have

made statements concerning misinformation similar to those made by the Surgeon General. The

Court should deny Plaintiffs’ motion. First, as a threshold matter, Plaintiffs have already appealed

the Court’s final judgment, and so the Court lacks jurisdiction to resolve the Rule 60(b) motion.

Second, Plaintiffs’ motion lacks merit because the “new evidence” indicates only that, like the

Surgeon General, DHS officials had generally spoken of the harms of misinformation and

proposed a number of strategies for containing misinformation. That evidence does not dispute

that Twitter, and other social media companies, have been fighting misinformation for years now,

and have chosen to do so independently of any statements made by federal government officials.

The “new evidence” does not indicate that any DHS official caused, much less forced, Twitter to

adopt any policy. Nor does it indicate that any DHS official spoke with Twitter about any Plaintiff

in particular. If the allegations and documents Plaintiffs previously relied upon concerning the

Surgeon General were insufficient to survive a motion to dismiss, the same must be true with

respect to the comparable “new evidence” Plaintiffs submit now concerning DHS. The Court

should deny Plaintiffs’ Rule 60(b) motion.

                                          BACKGROUND

   1. On March 24, 2022, Plaintiffs—three individual Twitter users—brought suit against

Surgeon General Murthy, the Department of Health and Human Services (“HHS”), and HHS

Secretary Becerra. Plaintiffs alleged that they had suffered a number of disciplinary actions by

Twitter, and that those actions were attributable to the federal government. See MTD Order, at 2-

3. In particular, Plaintiffs claimed that the Surgeon General somehow forced Twitter to take those

disciplinary actions through his publication of two non-binding documents: (i) a health advisory




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discussing the harms of, and strategies for addressing, misinformation, and (ii) a public request for

information (“RFI”) concerning misinformation. See MTD Order, at 9, 12. Plaintiffs thus argued

that the disciplinary actions Twitter took against them amounted to “state action” that violated

Plaintiffs’ First Amendment rights. Plaintiffs also asserted a Fourth Amendment claim, an ultra

vires claim, and an APA claim. See MTD Order, at 3.

       On March 30, 2022, Plaintiffs moved for a preliminary injunction, and on April 15, 2022,

Defendants both responded to the preliminary injunction motion and moved to dismiss Plaintiffs’

claims. The Court held an evidentiary hearing on April 28, 2022, and on May 5, 2022, the Court

dismissed Plaintiffs’ claims in full, concluding that Plaintiffs lacked standing and that, in any

event, their claims lacked merit. With respect to standing, the Court first found that Plaintiffs’

allegations did not show that the actions Twitter took against them were caused by Defendants

rather than Twitter’s independent judgment. The Court noted that there were many reasons why

Twitter would independently decide to try and contain misinformation, including “widespread

societal concerns about online misinformation,” a fear of “losing . . . revenue” from “advertisers

(or other users) who do not want to be associated with a company that passively allows

misinformation to spread,” or a genuine belief that it should “prioritize tackling the spread of

perceived COVID-19 mistruths.” MTD Order, at 19, 22 n.5 (internal quotation marks omitted).

The Court also noted that Twitter had been tackling information for years—since before this

Administration began—thus further undermining any inference that the actions Twitter took

against Plaintiffs were driven by anything an official in this Administration had said. See id. at 7,

16. The Court further noted that, in addition to their failure to establish the requisite causal link,

Plaintiffs had failed to show that a favorable ruling would redress their alleged injuries. See id. at

21-22. The Court found that there was no indication that Twitter would cease “enforc[ing] . . . its




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COVID-19” misinformation policy simply because certain government actors are enjoined from

making certain statements concerning misinformation. Id.

       The Court also found that, even if Plaintiffs had standing, their claims failed on the merits.

First, the Court noted that the First Amendment claim failed because Plaintiffs did not show that

the relevant actions taken by Twitter—a private company that is not subject to the First

Amendment—were attributable to the federal government. The Court found that, to hold the

federal government liable for Twitter’s actions towards Plaintiffs, Plaintiffs had to, but did not,

adequately allege that a federal government actor had coerced Twitter into taking those precise

actions. See MTD Order, at 23-24. The court noted that the Surgeon General documents that

Plaintiffs relied upon were non-binding and did not require Twitter to take any action. See id. at

26-28. The Court also reasoned that Plaintiffs made no concrete allegation indicating that any

Defendant had “specifically targeted” any Plaintiff. Id. at 27.

       Second, the Court found that the Fourth Amendment claim failed because the RFI did not

constitute a “search” under the Fourth Amendment because it was simply a request for

information; no party was legally obligated to respond to the RFI. See id. at 28-31. Third, the Court

rejected the APA claim because neither the Surgeon General’s advisory nor his RFI imposed any

legal obligation on any party, and thus did not constitute “final agency action.” See id. at 33. The

Court then rejected the ultra vires claim for a similar reason: an agency needs no statutory authority

to issue “non-binding [policy] statements,” and “the [advisory] and RFI [are] non-binding policy

statements.” Id. at 34. The Court accordingly dismissed the complaint and denied the preliminary

injunction motion as moot.

   2. Plaintiffs now move for relief under F.R.C.P. 60(b)(2), asking the Court to vacate its final

judgment based on a handful of new documents that, in their view, cure the many defects in their




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legal theories. Plaintiffs submit three principal, new documents concerning certain efforts by DHS

to address misinformation. First, Plaintiffs submit a September 13, 2021 DHS memorandum

describing certain DHS “[e]fforts to [c]ounter [d]isinformation.” ECF No. 42-1, at 6. The

memorandum first notes that several types of misinformation “present[] serious homeland security

risks,” including election-related “[c]onspiracy theories” that result in “threats against election

personnel,” false “narratives” spread by “[f]oreign terrorists” and other “violent extremist[s]” that

“amplify calls to violence,” “[f]alsehoods surrounding . . . immigration policy,” and

misinformation concerning “COVID-19 vaccines.” Id. The memorandum then describes certain

DHS efforts to address misinformation, including a website it operates to counter “incorrect

claims” by providing “factual information.” Id. at 8. The memorandum discusses how DHS may

“structure” anti-misinformation “efforts moving forward,” but stresses that DHS “should not

attempt to be an all-purpose arbiter of truth in the public arena” and that it must “ensure [that] its”

misinformation “efforts do not have the effect of chilling or suppressing free speech.” Id. at 6-8.

       Plaintiffs also refer to a January 13, 2022 DHS memorandum concerning its

“Disinformation Governance Board” (the “Board”), which has since been suspended. See id. at 1,

11. According to this memorandum, the Board’s purpose was to, among other things, help identify,

assess, and respond to misinformation threats, which could include serving as a “point of contact”

for relevant “private sector” entities. Id. at 14-16. The memorandum states that the Board would

“ensure . . . adherence to applicable constitutional . . . obligations.” Id. at 15. The Board, however,

is not currently operating. See id. at 1 (noting that the Board has been “recently-paused”). Finally,

Plaintiffs refer to a draft set of talking points, dated April 28, 2022, for a meeting between a DHS

official and certain Twitter employees. According to the draft talking points, the purpose of the




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meeting was, in part, to determine “what types of . . . information would be useful to Twitter” and

the “ways [DHS] could be helpful to Twitter’s [misinformation] efforts.” Id. at 18.

        None of these documents indicates that DHS ordered Twitter to adopt any particular policy,

nor do they suggest that DHS specifically instructed Twitter to take any particular action against

any Plaintiff in particular.

     3. On June 30, 2022, Plaintiffs filed a notice of appeal from this Court’s Order dismissing this

action. See ECF No. 43. On June 30, 2022, the Sixth Circuit issued an order indicating that

Plaintiffs’ appeal would be “held in abeyance” pursuant to “Fed. R. App. P. 4(a)(4)” until “after

the district court rule[d] on [the] pending [Rule 60(b)] motion[]” and “jurisdiction transfers to the

Sixth Circuit Court of Appeals.” Notice, Case No. 22-3573, Changizi v. HHS, Doc. 3 (June 30,

2022). However, the filing of a Rule 60(b) motion triggers abeyance only “if the motion is filed

no later than 28 days after the judgment is entered.” F.R.A.P. 4(a)(4)(A)(vi). In this case, Plaintiffs

filed their motion more than 28 days after entry of the judgment, and hence FRAP 4(a)(4) does not

apply. The Sixth Circuit therefore issued an Order on July 5, 2022, stating that “[t]his case was

inadvertently docketed under Fed. R. App. P. 4(a)(4), [and that] the case is resumed and returned

to the active docket.” Order, Case No. 22-3573, Changizi v. HHS, Doc. 5-2 (July 5, 2022).

                                               ARGUMENT

        The Court should deny Plaintiffs’ request for Rule 60(b) relief from the final judgment

because the Court lacks jurisdiction to provide that relief and, in any event, Plaintiffs do not satisfy

the requirements for Rule 60(b) relief.

I.      The Court does not have jurisdiction to rule on the Rule 60(b)(2) motion.

        “It is well settled in this Circuit that the filing of a notice of appeal divests the district court

of jurisdiction and transfers jurisdiction to the court of appeals.” Agristor Leasing v. Hermitage




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Harvistore Sys., Inc., 849 F.2d 608 (6th Cir. 1988). Thus, “[a]bsent a remand by the appellate

court, a district court may not decide a Rule 60(b) motion to vacate judgment after notice of appeal

has been filed.” Id.; see also Pickens v. Howes, 549 F.3d 377, 383 (6th Cir. 2008) (“filing of a

notice of appeal operates to transfer jurisdiction of the case to the court of appeals, and the district

court is thereafter without jurisdiction to grant a motion under Fed.R.Civ.P. 60(b)”); Smith v.

Combustion Eng’g, Inc., 843 F.2d 1392 (6th Cir. 1988) (“Absent remand by the appellate court, a

district court is without jurisdiction and may not decide a 60(b) motion after the notice of appeal

has been filed.”). Here, Plaintiffs have already appealed the Court’s final judgment, and so the

Court lacks jurisdiction to decide the Rule 60(b)(2) motion.

II.    Plaintiffs do not meet the requirements for Rule 60(b)(2) relief.

       Even if the Court had jurisdiction to resolve Plaintiffs’ motion, they would not be entitled

to Rule 60(b)(2) relief. “In order to prevail on a Rule 60(b)(2) motion, a movant must demonstrate”

that the allegedly new evidence “is material and controlling and clearly would have produced a

different result if presented before the original judgment.” Good v. Ohio Edison Co., 149 F.3d 413,

423 (6th Cir. 1998) (emphasis added). “[R]elief [under] Rule 60(b)(2)” is “extraordinary,” and

should “only to be granted in exceptional circumstances.” Id.

       Here, the “new evidence” Plaintiffs have submitted concerning DHS’s anti-misinformation

efforts would not cure the deficiencies in Plaintiffs’ complaint, and thus would not have “clearly .

. . produced a different result” if it had been presented “before the [Court’s] original judgment.”

Id. Indeed, that evidence indicates only that DHS engaged in certain general anti-misinformation

efforts comparable to those of the Surgeon General. Thus, that evidence likewise fails to show that

Plaintiffs have standing or that their claims are viable.




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   1. Plaintiffs’ “new evidence” does not show that DHS caused (or will cause) Twitter to take

any action against Plaintiffs, or that a favorable ruling would redress any of Plaintiffs’ alleged

injuries. To start, Plaintiffs fail to show that any actions Twitter has taken (or will take) against

Plaintiffs has been (or will be) caused by DHS’s general anti-misinformation efforts rather than

Twitter’s independent, discretionary judgments. As the Court has already noted, there are many

reasons why Twitter would independently target misinformation, and Twitter’s longstanding

practices show that it decided to combat misinformation long before (and independently of) any

of the cited DHS efforts to combat misinformation. See supra at 3. None of Plaintiffs’ new

documents suggests that Twitter took action against Plaintiffs specifically because of DHS’s

general anti-misinformation efforts. To the contrary, those documents suggest that, in attempting

to address misinformation, DHS has strived to ensure that it would not serve as “an all-purpose

arbiter of truth in the public arena” and that it would seek to respect “First Amendment protected

activity.” ECF No. 42-1, at 6-7.

       Regardless, even if those documents somehow suggested that Twitter has been, or will be,

motivated to take action against Plaintiffs because of DHS’s efforts, that alone would be

insufficient to establish causation. The Sixth Circuit has made clear that “harms result[ing] from

the independent action of some third party not before the court are generally not traceable to the

defendant.” Turaani v. Wray, 988 F.3d 313, 316 (6th Cir.), cert. denied, 142 S. Ct. 225 (2021). A

“third party’s legitimate discretion breaks the chain of constitutional causation.” Id. at 317; see id.

(“an injury that results from the third party’s voluntary and independent actions does not establish

traceability” (emphasis in original)). Here, of course, none of the new documents indicates that

DHS stripped Twitter of its ultimate authority over enforcement actions on its platform. Thus,

Twitter’s past, and potentially future, disciplinary actions against Plaintiffs flowed (and will flow)




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from Twitter’s “legitimate discretion,” which “breaks the chain of constitutional causation.” Id. at

317. Plaintiffs’ new evidence therefore does not establish the requisite causal link.

       Further, the new evidence also does not undermine the Court’s conclusion that Plaintiffs

have failed to establish that a favorable decision would redress their alleged injuries. The new

evidence does not suggest that, if the Court were to issue relief limiting the anti-misinformation

efforts of certain government agencies, Twitter, or any other social media company, would

abruptly abandon their longstanding misinformation policies. Indeed, the new evidence says

nothing about the motivations behind social media companies’ misinformation efforts.

Accordingly, even with their new evidence, Plaintiffs still lack standing.

   2. In any event, even with their new evidence, Plaintiffs’ claims would fail on the merits.

First, as the Court acknowledged, to state a constitutional claim against a government actor based

on private conduct, the government actor must have coerced, or encouraged to a degree amounting

to coercion, the private actor to take the precise action at issue. See MTD Order, at 23; id. at 27

(Plaintiffs’ claim fails because Defendants did not “specifically target[]” Plaintiffs by telling

“Twitter that Plaintiffs’ posts in particular contain misinformation, or defin[ing] ‘misinformation’

in a manner that would necessarily include Plaintiffs’ posts”). Here, Plaintiffs’ new evidence does

not indicate that DHS has coerced, or effectively coerced, Twitter into taking any action. Rather,

the evidence shows only that DHS has promoted general strategies for addressing misinformation,

and has asked social media companies about how DHS can assist in their anti-misinformation

efforts. See supra at 4-6. Additionally, the new evidence also does not suggest that DHS

“specifically targeted” Plaintiffs’ Twitter posts. Accordingly, Plaintiffs’ new evidence does not

salvage their First Amendment claim.




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        Second, Plaintiffs’ Fourth Amendment claim still fails because that claim was based

entirely on the Surgeon General’s RFI. Plaintiffs do not suggest that anything DHS has done

amounts to an unconstitutional search. Third, Plaintiffs’ new evidence does not save their APA

and ultra vires claims because the DHS anti-misinformation efforts are non-binding, just like the

Surgeon General’s non-binding anti-misinformation efforts that, as the Court found, did not give

rise to viable APA and ultra vires claims. See supra at 4. None of Plaintiffs’ new evidence suggests

that any DHS anti-misinformation effort has imposed any legal obligation on any party.

Accordingly, that evidence does not show that DHS acted in excess of its authority, or that it

engaged in any “final agency action” reviewable under the APA.

        Plaintiffs have not identified any new evidence that “is material and controlling and clearly

would have produced a different result if presented before the original judgment.” Ohio Edison

Co., 149 F.3d at 423 (emphasis added). Plaintiffs therefore are not entitled to “extraordinary” Rule

60(b)(2) relief.1

                                           CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ Motion for Rule 60(b) relief.


Dated: July 14, 2022                 Respectfully submitted,

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                                     /s/ Kuntal Cholera

                                     KUNTAL CHOLERA
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  To secure Rule 60(b)(2) relief, “ a movant must” also “demonstrate . . . that it exercised due
diligence in obtaining the” new evidence. Ohio Edison Co., 149 F.3d at 423. Here, Defendants
currently lack sufficient information to determine whether Plaintiffs could have accessed the new
evidence at issue prior to the Court’s final judgment.


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